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                             EXHIBIT 1
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                                                   Page 82                                               Page 84
        1             M. KOUFAKIS                           1             M. KOUFAKIS
        2     Q. Sure. Do you have any understanding        2     Q. Which is what?
        3 as to why any of the Star entities would pay for 3      A. It is a -- anywhere from
        4 audit services, but not require --                4 four-to-seven page document. Page 1 is balance
        5     A. Yeah, because I wanted it.                 5 sheet, page 2 is, you know, the total of -- it's
        6     Q. -- but not require audited financial       6 typically expenses. Page 3 and 4 are the income
        7 statements?                                       7 and expenses of the various departments.
        8           MR. FELSEN: Objection.                  8     Q. And that three-to-four page
        9     A. I wanted the highest level of              9 financial statement --
       10 accuracy, as possible.                           10     A. It's at least four-to-seven.
       11     Q. And why was it that you didn't ask        11     Q. Okay. This financial statement was
       12 for audited financial statements then, if you    12 prepared by whom?
       13 wanted the highest level of accuracy possible? 13             MR. FELSEN: Objection.
       14     A. I took Voynow's recommendation, that 14          A. It's printed by the office manager
       15 it was not necessary and overly burdensome and 15 and sent by the office manager. But it's the
       16 costly.                                          16 culmination of the accounts that Voynow
       17     Q. If you believe that you paid for          17 reviewed.
       18 something higher than a review, but not quite an 18     Q. Let's go back to the current
       19 audit, why wouldn't you have at least wanted     19 accountant. It's Withum, did you say?
       20 reviewed financial statements?                   20     A. Yes.
       21           MR. FELSEN: Objection.                 21     Q. Where are they based?
       22     A. You're making the assumption it was       22     A. I believe New Jersey is the main
       23 not.                                             23 headquarters.
       24     Q. Did you ever get financial                24     Q. Who's your contact there? Who's the
       25 statements prepared by Voynow, with an opinion 25 main accountant?
                                                   Page 83                                               Page 85
        1             M. KOUFAKIS                             1             M. KOUFAKIS
        2 stating that they reviewed them and what they       2     A. Louis Young.
        3 found?                                              3     Q. Is there an engagement letter with
        4      A. They didn't prepare the financial           4 Withum?
        5 statements, but they reviewed the accounts that     5     A. I'm not sure.
        6 were used to prepare the financial statements.      6     Q. What do you mean you're not sure?
        7      Q. Did you ever get anything as far as         7           MR. FELSEN: Objection.
        8 an opinion from them?                               8     Q. Would -- you don't remember or --
        9      A. Not that I can recall.                      9     A. I'm not sure. I can't say it any
       10      Q. But yet you believe you paid for it?       10 clearer than that.
       11      A. I believe that the accounting              11     Q. If there was one and it was signed,
       12 statements we were producing was just short of     12 who, other than you, would be the person to sign
       13 an audited statement.                              13 it?
       14      Q. And that -- when you say "accounting       14           MR. FELSEN: Objection.
       15 statement," what is it specifically you're         15     A. Probably no one.
       16 referring to?                                      16     Q. When was Withum hired?
       17      A. The one the dealership produces for        17     A. I believe approximately April of
       18 the manufacturers and what is ultimately           18 2020.
       19 utilized to ultimately do the tax returns.         19     Q. And did you make the decision to
       20      Q. Are you talking about a balance            20 hire them?
       21 sheet, an income statement? What are you           21     A. Yes.
       22 talking about when you say an "accounting          22     Q. And is it your contention that
       23 statement"?                                        23 Withum was hired to provide the same services
       24      A. A financial statement required by          24 that Mr. Weiner's firm was engaged to provide,
       25 all of the manufacturers.                          25 and that Voynow was engaged to provide?
                                                                                            22 (Pages 82 - 85)
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                                                     Page 86                                               Page 88
        1             M. KOUFAKIS                          1             M. KOUFAKIS
        2      A. It's not quite the same.                 2     Q. Okay. At what point did she go full
        3      Q. How is it different?                     3 time?
        4      A. I would say it's not quite to the        4     A. I'm not sure.
        5 same level.                                      5     Q. So going back to the engagement with
        6      Q. Explain.                                 6 Withum. At the time you hired them in April of
        7      A. Originally, I would say it's a fluid     7 2020, actually -- strike that.
        8 situation, and it has not been fully discussed.  8    What, if anything, did you know about their
        9      Q. So you've had an accounting firm for     9 background?
       10 at least two years now, providing services, and 10     A. They were a large accounting firm,
       11 you still don't have clarity as to what it is   11 that did quite a number of automobile
       12 they are providing you?                         12 dealerships.
       13      A. Well, they are doing the tax            13     Q. Did somebody recommend them?
       14 returns. And we are in the process of hiring    14     A. No.
       15 someone else to review our internal systems and 15     Q. Is Mr. Young still your point of
       16 controls. And Jacque, over time is, I believe   16 contact there?
       17 now is a licensed -- I forget what the term     17     A. Yes.
       18 was -- fraud examiner, if I'm not mistaken.     18     Q. How often is Withum at the
       19      Q. She's also an employee, correct?        19 dealership -- strike that.
       20      A. She's also an employee. I also          20    Are they there --
       21 utilized someone else who reports solely to me, 21     A. Several times. I'm not sure.
       22 kind of like what Bing Yuen did years ago.      22     Q. Are they there for quarterly visits,
       23      Q. Who was that?                           23 like Larry Weiner's firm and Voynow supposedly
       24      A. Leslie Senatore, S-E-N-A-T-O-R-E.       24 were?
       25      Q. When was she hired?                     25           MR. FELSEN: Objection.
                                                     Page 87                                               Page 89
        1              M. KOUFAKIS                              1             M. KOUFAKIS
        2     A. I believe in 2017.                             2     A. Maybe not quarterly. Maybe a little
        3     Q. So she's an internal auditor?                  3 less.
        4     A. She's a retired office manager who             4     Q. Is their engagement, does it also
        5 reports directly to me, whose job is to look for      5 include verification of the balances in the
        6 any irregularities.                                   6 accounts?
        7     Q. And who is she employed by? Which              7     A. Well, I didn't say there was an
        8 entity? Nissan? Toyota?                               8 engagement. It's still a fluid situation.
        9     A. It doesn't really matter.                      9     Q. Okay. It's fluid right now. Is
       10     Q. She's hired to look for any                   10 that what you're saying?
       11 irregularities in any dealership?                    11     A. Yes.
       12     A. In any of the dealerships, yes. Her           12     Q. At any point between April of 2020,
       13 specialty is service and parts.                      13 up until today, did you hire Withum to verify
       14     Q. Is she a full-time employee?                  14 the balances in the dealership accounts?
       15     A. Yes.                                          15     A. Yes.
       16     Q. When in 2017 was she hired?                   16     Q. Did you hire them to detect fraud?
       17     A. I don't have the exact date. I                17     A. Not with what had already
       18 don't know.                                          18 transpired, but going forward, yes. Not
       19     Q. Was she hired before or after                 19 backwards.
       20 Rosenfield?                                          20     Q. So you're saying as of today you've
       21     A. Her role changed over time.                   21 hired them to detect fraud, but not between
       22 Originally she started part-time, doing some         22 April of 2020 and today?
       23 limited functions, and the role expanded over        23           MR. FELSEN: Objection.
       24 time from part-time to full time, so I'm not         24     A. Repeat that.
       25 exactly sure.                                        25     Q. I'm trying to understand your
                                                                                              23 (Pages 86 - 89)
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